             IN THE COURT OF APPEALS OF NORTH CAROLINA

                                2021-NCCOA-105

                                 No. COA20-337

                                Filed 6 April 2021

Chatham County, No. 17 CVS 921

JULIUS WILLIAM WOODY, and
SHANNON CHAD GAINES, Plaintiffs

            v.

RANDY LYNN VICKREY,
individually and in his
capacities as Trustee of the
Julius William Woody Trust
and as Attorney-in-Fact
for Julius William Woody, Defendant and Third-Party Plaintiff

            v.

CARRIE F. VICKREY, and
DONALD G. AYSCUE, Third-Party Defendants




      Appeal by plaintiff and third-party defendants from orders entered 11 October

2019, and 4 November 2019, by Judges Carl R. Fox and Susan E. Bray in Chatham

County Superior Court. Heard in the Court of Appeals 27 January 2021.


      Coleman Gledhill Hargrave Merritt &amp; Rainsford, P.C., by Cyrus Griswold, for
      Plaintiff-Appellant and Third-Party Defendants-Appellants
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           Reiss &amp; Nutt, PLLC, by W. Cory Reiss, for Defendant-Appellee


           CARPENTER, Judge.


¶1         Plaintiff Shannon Chad Gaines and Third-Party Defendants Carrie Vickrey

     and Donald Ayscue appeal from interlocutory orders including a declaratory

     judgment, an order on partial summary judgment, and a permanent injunction.

                            I. Factual &amp; Procedural Background

¶2         The evidence tends to show that on 22 July 2008, Julius William Woody

     (“Plaintiff Woody”) appointed his long-time friend Randy Lynn Vickrey, defendant

     and third-party plaintiff (“Defendant Vickrey”), as trustee of a revocable trust.

     Plaintiff Woody executed a general warranty deed and a bill of sale to transfer real

     property and personal property into the trust.

¶3         In the spring of 2017, Carrie Vickrey (“Third-Party Defendant Vickrey”),

     Donald Ayscue (“Third-Party Defendant Ayscue”), and Shannon Chad Gaines

     (“Plaintiff Gaines”) (collectively “Appellants”) moved at least one trailer onto Plaintiff

     Woody’s parcel and lived on his property. Friends and family members of Plaintiff

     Woody noticed a change in his home and living conditions after Appellants moved to

     the property: cameras and sensors were installed around the home, curtains

     remained closed, Plaintiff Woody became isolated, and his personal property went

     missing. They were also concerned about his mental and physical wellbeing as he
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     became increasingly feeble and susceptible to scams.         Within one month after

     Appellants moved onto Plaintiff Woody’s property, he executed multiple legal

     instruments including a revocation of the 2008 trust, a general power of attorney, a

     will, a certificate of trust, and general warranty deeds—all of which benefited one or

     more Appellants.

¶4         On 30 August 2017, Defendant Vickrey executed a certificate of trust to affirm

     his status as trustee of Plaintiff Woody’s 2008 trust. To further protect the trust, he

     also transferred two parcels of land held by the trust to himself.

¶5         Plaintiffs Woody and Gaines filed a complaint in the Chatham County Superior

     Court against Defendant Vickrey on 22 November 2017, seeking to quiet title to the

     real property that Defendant Vickrey had transferred to himself.            In Defendant

     Vickrey’s answer to the initial complaint, he brought counterclaims including an

     action for declaratory judgment seeking the court to name him the trustee and sole

     beneficiary of Plaintiff Woody’s trust, and a claim to quiet title to remove a 2017 deed

     executed by Plaintiff Woody. Defendant Vickrey also brought third-party claims

     against Third-Party Defendants Vickrey and Ayscue.             These claims were for

     cancellation or rescission of certain documents signed by Plaintiff Woody in 2007 due

     to duress, undue influence, and lack of capacity; quiet title to remove a 2017 deed

     executed by Plaintiff Woody; punitive damages; injunctive relief; conversion; and civil

     conspiracy. All parties to the case prayed the court for a trial by jury.
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¶6         Dr. George Corvin, a board-certified forensic psychiatrist, performed a mental

     examination on Plaintiff Woody in November of 2017 pursuant to court order. Dr.

     Corvin rendered an opinion with a “reasonable degree of medical certainty” that

     Plaintiff Woody lacked competence to sign the legal instruments executed in June of

     2017 “in a knowing, voluntary, and intelligent manner.” Defendant Vickrey filed his

     first motion for summary judgment on 10 January 2019, which was denied by

     presiding judge, the Honorable Allen Baddour, in an order (the “Baddour Order”)

     entered pursuant to Rule 58 of the North Carolina Rules of Civil procedure on 10

     February 2019. On 1 February 2019, Plaintiff Woody was granted leave to file, and

     filed, an amended and restated complaint, which brought claims against Defendant

     Vickrey relating to his alleged breach of fiduciary duties.     Defendant Vickrey

     answered the amended and restated complaint and amended his counterclaims on 22

     February 2019.

¶7         Defendant Vickrey filed a second motion for summary judgment on 18

     September 2019 based on the amended pleadings. On 10 October 2019, the presiding

     judge, the Honorable Carl Fox, entered an order (the “Fox Order”) granting

     declaratory judgment designating Defendant Vickrey as the trustee and sole

     beneficiary of Plaintiff Woody’s trust. In his order, Judge Fox granted summary

     judgment in favor of Defendant Vickrey on the parties’ claims for quiet title and

     conversion. He also granted summary judgment in favor of Defendant Vickrey on his
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       third-party claim for cancellation and recission of the 2017 instruments. Finally,

       Judge Fox denied summary judgment regarding Defendant Vickrey’s third-party

       claim for civil conspiracy.

¶8           Plaintiff Woody voluntarily dismissed his other claims, without prejudice on

       22 October 2019.     Defendant Vickrey moved for a preliminary injunction on 7

       September 2018 to prevent the transfer of assets from the 2008 trust, which the court

       granted on 1 November 2018.

¶9           A permanent injunction was entered on 4 November 2019, by the presiding

       judge, the Honorable Susan Bray, to enjoin Plaintiff Gaines and Third-Party

       Defendants Vickrey and Ayscue from communicating with Plaintiff Woody and from

       entering his property. The only remaining unresolved claim in the proceeding is

       Defendant Vickrey’s counterclaim for civil conspiracy.

¶ 10         Appellants filed their notice of appeal to the Court of Appeals from the Fox

       Order and the permanent injunction. The trial court proceedings for this matter were

       stayed pursuant to N.C. Gen. Stat. § 1-294 until this Court issues its opinion.

                                             II. Issues

¶ 11         The issues are whether: (1) Appellants have shown harm to a substantial right

       sufficient to warrant an immediate appeal from interlocutory orders, which removed

       the preliminary factual determinations of undue influence and lack of mental

       capacity from a jury; (2) the trial court properly granted summary judgment in favor
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       of Defendant Vickrey after a motion for summary judgment had been previously

       denied; (3) the trial court properly granted partial summary judgment, which

       effectively resolved the critical preliminary factual issues of undue influence and lack

       of capacity; (4) the trial court properly issued a permanent injunction before a final

       hearing on the merits; and (5) the trial court properly granted summary judgment on

       Defendant Vickrey’s counterclaim for conversion in the partial summary judgment

       order.

                                          III. Jurisdiction

                                       A. Interlocutory Appeal

¶ 12            As an initial matter, this Court must determine whether it possesses

       jurisdiction over the interlocutory appeal of the declaratory judgment, partial

       summary judgment, and permanent injunction. All parties agree that the orders

       from which Appellants appeal are interlocutory.

¶ 13            “An interlocutory order is one made during the pendency of an action, which

       does not dispose of the case, but leaves it for further action by the trial court in order

       to settle and determine the entire controversy.” Veazey v. Durham, 231 N.C. 357,

       362, 57 S.E.2d 377, 381 (1950) (citation omitted). “A grant of partial summary

       judgment, because it does not completely dispose of the case, is an interlocutory order

       from which there is ordinarily no right of appeal.” Jeffreys v. Raleigh Oaks Joint

       Venture, 115 N.C. App. 377, 379, 444 S.E.2d 252, 253 (1994) (citation omitted).
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       “Generally, there is no right of immediate appeal from interlocutory orders and

       judgments.” Goldston v. Am. Motors Corp., 326 N.C. 723, 725, 392 S.E.2d 735, 736
       (1990). However, “[t]here are . . . two means by which an interlocutory order may be

       appealed: (1) if the order is final as to some but not all of the claims or parties and

       the trial court certifies there is no just reason to delay the appeal pursuant to N.C.R.

       Civ. P. 54(b) or (2) if the trial court’s decision deprives the appellant of a substantial

       right . . . .” CBP Resources, Inc. v. Mountaire Farms, Inc., 134 N.C. App. 169, 171,

       517 S.E.2d 151, 153 (1999) (quotations omitted). An appellant’s substantial right is

       deprived if it is “lost, prejudiced or [will] be less than adequately protected” without

       an immediate appeal pursuant to N.C. Gen. Stat. §§ 1-277(a) or 7A-27(b)(3)(a). J &amp;

       B Slurry Seal Co. v. Mid-South Aviation, Inc., 88 N.C. App. 1, 6, 362 S.E.2d 812, 815
       (1987).

¶ 14         In this case, the trial court’s judgment was final as to some but not all of the

       claims; however, the trial court did not certify the order so there is no immediate

       appeal authorized under Rule 54(b). In order for the Appellants to have a right of

       appeal, the trial court must have deprived Appellants of a substantial right that

       would be lost, prejudiced, or less than adequately protected absent immediate review.

       See J &amp; B Slurry Seal Co., 88 N.C. App. at 6, 362 S.E.2d at 815. Appellants contend

       that their substantial rights are prejudiced, including: (1) the right to not receive

       inconsistent verdicts in two potential trials; and (2) the right to have a jury determine
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       all factual issues where a genuine issue of material fact exists.

                                         1. Inconsistent Verdicts

¶ 15         We first consider Appellants’ argument that the interlocutory orders affect

       their right to not receive inconsistent verdicts. Appellants argue in their statement

       of grounds for appellate review: “In a trial limited to Appellee’s remaining claims, a

       jury could find Appellants not liable. If the summary judgment at issue here were

       then reversed on appeal, a second jury could find Appellants liable on those same

       claims.”

¶ 16         Rule 28(b)(4) of the North Carolina Rules of Appellate Procedure requires that

       an appellant’s brief include, inter alia:

                    A statement of the grounds for appellate review. Such
                    statement shall include citation of the statute or statutes
                    permitting appellate review. . . . When an appeal is
                    interlocutory, the statement must contain sufficient
                    facts and argument to support appellate review on the
                    ground that the challenged order affects a substantial
                    right.

       N.C. R. App. P. 28(b)(4). The burden is on the appellant to explain in the statement

       of the grounds for appellate review “why the facts of that particular case

       demonstrate that the challenged order affects a substantial right.” Denney v.

       Wardson Constr., LLC, 264 N.C. App. 15, 18, 824 S.E2d 436, 438 (2019).

¶ 17         A party’s right to avoid separate trials of the same factual issues may

       constitute a substantial right. Green v. Duke Power Co., 305 N.C. 603, 608, 290 S.E.2d
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       593, 596 (1982). To determine whether a substantial right exists, “[t]his Court has

       interpreted the language of Green and its progeny as creating a two-part test

       requiring that a party show that (1) the same factual issues would be present in both

       trials and (2) the possibility of inconsistent verdicts on those issues exists.” N.C. Dep’t

       of Transp. v. Page, 119 N.C. App. 730, 735–36, 460 S.E.2d 332, 335 (1995) (citation

       omitted). “The test is satisfied when overlapping issues of fact between decided

       claims and those remaining create the possibility of inconsistent verdicts from

       separate trials.” Newcomb v. Cty. of Carteret, 183 N.C. App. 142, 145, 643 S.E.2d 669,

       671 (2007), disc. rev. denied, 365 N.C. 212, 710 S.E.2d 26 (2011) (citations omitted).

       “The mere fact that claims arise from a single event, transaction, or occurrence does

       not, without more, necessitate a conclusion that inconsistent verdicts may occur

       unless all of the affected claims are considered in a single proceeding.” Hamilton v.

       Mortg. Info. Servs., 212 N.C. App. 73, 80, 711 S.E.2d 185, 190 (2011) (citation

       omitted). The risk of inconsistent verdicts means that there is “a risk that different

       fact-finders would reach irreconcilable results when examining the same factual

       issues a second time.” Denney, 264 N.C. App. at 19, 824 S.E2d at 439.

¶ 18         This Court has held the risk of inconsistent verdicts is not present when the

       issue of liability has been determined and only damages claims remain for a trial

       court’s consideration. See, e.g., Tridyn Indus., Inc. v. Am. Mut. Ins. Co., 296 N.C. 486,

       251 S.E.2d 443 (1979). Therefore, when only claims for damages remain, there is no
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       substantial right affected which warrants immediate appeal. CBP Resources, Inc.,

       134 N.C. App. at 172, 517 S.E.2d at 154. Our Supreme Court has stated that a civil

       action for conspiracy is an action for damages:

                    Accurately speaking, there is no such thing as a civil action
                    for conspiracy. The action is for damages caused by acts
                    committed pursuant to a formed conspiracy, rather than by
                    the conspiracy itself; and unless something is actually done
                    by one or more of the conspirators which results in damage,
                    no civil action lies against anyone. The gist of the civil
                    action for conspiracy is the act or acts committed in
                    pursuance thereof -- the damage -- not the conspiracy or
                    the combination. The combination may be of no
                    consequence except as bearing upon rules of evidence or the
                    persons liable.

       Reid v. Holden, 242 N.C. 408, 414–15, 88 S.E.2d 125, 130 (1955) (quoting 11 Am.

       Jur. 577, Conspiracy § 45).

¶ 19         Here, issues of liability were determined by the trial court, and the only claim

       remaining for consideration is a claim for civil conspiracy, or a claim for damages.

       Therefore, Appellants have not identified in their statement of grounds for appellate

       review a risk of inconsistent verdicts. See CBP Resources, Inc., 134 N.C. App. at 172,

       517 S.E.2d at 154. Moreover, Appellants have not put forth sufficient facts and

       argument to show how irreconcilable verdicts would arise if a fact finder determined

       the remaining claim, and the order on partial summary judgment was subsequently

       reversed. See Union Cty. v. Town of Marshville, 255 N.C. App. 441, 446–47, 804

       S.E.2d 801, 805–06 (2017); N.C. R. App. P. 28(b)(4). In considering Appellants’
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       hypothetical, we do not find that inconsistent verdicts would arise if a jury found

       them not liable on the remaining claim for civil conspiracy, the summary judgment

       was reversed, and a second jury found them liable on the other claims.

                                          2. Right to Trial by Jury

¶ 20         We next consider Appellants’ argument that an immediate appeal from the

       interlocutory orders is necessary to protect their substantial right to a trial by jury

       because all parties to the suit prayed the court for a jury on all triable issues, and

       Appellants did not waive this right at any time.

¶ 21         In order to exercise the right to a jury trial in North Carolina, a party must

       meet certain constitutional and statutory requirements.            The North Carolina

       Constitution provides a right to a jury trial “[i]n all [civil] controversies at law

       respecting property . . . .” N.C. Const. art. I, § 25 (“[T]he ancient mode of trial by jury

       is one of the best securities of the rights of the people, and shall remain sacred and

       inviolable.”). Our Court has found “the right to a jury trial is a substantial right of

       great significance.” Mathias v. Brumsey, 27 N.C. App. 558, 560, 219 S.E.2d 646, 647
       (1975), disc. rev. denied, 289 N.C. 140, 220 S.E.2d 798 (1976).          However, “[t]he

       constitutional right to trial by jury, N.C. Const., Art. I, § 25, is not absolute; rather,

       it is premised upon a preliminary determination by the trial judge that there indeed

       exist genuine issues of fact and credibility which require submission to the jury.” N.C.

       Nat’l Bank v. Burnette, 297 N.C. 524, 537, 256 S.E.2d 388, 396 (1979).
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¶ 22         In N.C. State Bar v. Du Mont, our Supreme Court interpreted “Article I, § 25

       of the North Carolina Constitution [as] preserv[ing ] intact the right to trial by jury

       in all cases where the [action] existed at common law or by statute at the time the

       1868 Constitution was adopted.” 304 N.C. 627, 641, 286 S.E.2d 89, 98 (1982). “If the

       action existed at the time of the adoption of the 1868 Constitution, then the court

       [must] ‘determine[ ] whether the remedy sought is one at law respecting property.’”

       Kiell v. Kiell, 179 N.C. App. 396, 400, 633 S.E.2d 827, 830 (2006) (quoting State ex rel.

       Rhodes v. Simpson, 325 N.C. 514, 518, 385 S.E.2d 329, 332 (1989)). In Kiell, our

       Court stated that “when the issues upon which a jury trial is sought ‘form no part of

       the ultimate relief sought [and] do not affect the final rights of the parties,’ then ‘the

       power of the judge to make them is constitutionally exercised without the

       intervention of the jury.’” Kiell, 179 N.C. App. at 401, 633 S.E.2d at 830 (quoting Peele

       v. Peele, 216 N.C. 298, 300, 4 S.E.2d 616, 618 (1939)).

¶ 23         Here, each property claim at issue, including a quiet title action, a petition for

       declaratory judgment designating a trust’s trustee and beneficiary, a claim for

       conversion, and the nullification of legal instruments relating to property, “existed at

       common law or by statute at the time the 1868 Constitution was adopted.” See N.C.

       State Bar, 304 N.C. at 641, 286 S.E.2d at 98; see, e.g., Suanderson v. Ballance, 55 N.C.

       322 (2 Jones Eq.) (1856) (reviewing a quiet title action and holding the plaintiff was

       entitled to “mak[e] his title good”); Goodrum v. Goodrum, 43 N.C. 313 (8 Ired. Eq.)
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       (1852) (plaintiff sought a declaratory judgment that her slaves were separate

       property from her husband’s); Nichols v. Newsom, 6 N.C. 302 (2 Mur.) (1813) (defining

       conversion as “wrongfully turning to one’s use the personal goods of another, or doing

       some wrongful act inconsistent with or in opposition to the right of the owner”);

       Millison v. Nicholson, 1 N.C. 612 (1 Cam. &amp; Nor.) (discussing the validity of an

       executed deed when mental capacity of the grantor was at issue); Hemphill v.

       Hemphill, 13 N.C. 291 (1 Dev.) (stating that when there is proof of undue influence

       exerted upon an individual executing a contract or a will, the weight of the evidence

       is to be determined by a jury). Therefore, as long as a genuine issue of a material fact

       exists with respect to a claim, the parties have a constitutional right to a jury trial on

       that civil claim. See N.C. Nat’l Bank, 297 N.C. at 537, 256 S.E.2d at 396.

¶ 24         In this case, the remedies sought by the parties are declaratory relief, damages,

       and a decree naming certain conveyance instruments void. Each “remedy sought is

       one at law respecting property.” See Kiell, 179 N.C. App. at 400, 633 S.E.2d at 830.

       The issues for which a jury is sought include the preliminary issues of mental

       incapacity and undue influence as well as the disputed claims of conversion and quiet

       title. Genuine issues of fact exist with respect to the issues of whether Plaintiff

       Woody is mentally competent and whether he was unduly influenced. These issues

       are in the province of a jury and must be determined before the ultimate issues of the

       quiet title action, the declaratory judgment regarding the trust, and the validity of
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       legal instruments may be resolved. Thus, the issues upon which a jury trial is sought

       “form [some] part of the ultimate relief sought [and] . . . affect the final rights of the

       parties.” See id. at 401, 633 S.E.2d at 830 (emphasis added). Unlike Kiell, where a

       jury was directed on only the preliminary issues and not on the ultimate merits of

       the underlying claims, the jury in this case would be directed to decide both

       preliminary issues of mental capacity and undue influence, and the ultimate merits

       of the underlying claims for quiet title, conversion, nullification of documents, as well

       as a declaratory judgment regarding a trust—all of which respect property. See id.

       at 401, 633 S.E.2d at 830. Thus, the final rights of the parties are affected. See id.

       at 401, 633 S.E.2d at 830. Therefore, Appellants in the case sub judice have satisfied

       the test to establish their constitutional right to a trial by jury under Article I, § 25.

¶ 25         Along with satisfying constitutional mandates, a party must meet statutory

       requirements to exercise the right of a jury trial. Rule 38 of the North Carolina Rules

       of Civil Procedure establishes the manner by which a party must request a jury trial:

                    (b) Any party may demand a trial by jury of any issue
                    triable of right by a jury by serving upon the other parties
                    a demand therefor in writing at any time after
                    commencement of the action and not later than 10 days
                    after the service of the last pleading directed to such issue.
                    Such demand may be made in the pleading of the party or
                    endorsed on the pleading.

                    ....

                    (d) . . . A demand for trial by jury . . . may not be withdrawn
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                    without the consent of the parties who have pleaded or
                    otherwise appear in the action.

       N.C. Gen. Stat. § 1A-1, Rule 38(b), (d) (2019). Pursuant to Rule 39, “[w]hen trial by

       jury has been demanded and has not been withdrawn as provided in Rule 38, the

       action shall be designated upon the docket as a jury action.” N.C. Gen. Stat. § 1A-1,

       Rule 39(a) (2019). The trial shall be by jury for all triable issues in which it has

       been demanded unless the parties, by stipulation, consent to a trial without a jury

       or the court finds that there is no constitutional or statutory right to a trial by jury.

       Id.

¶ 26         In this case, each party to the suit demanded a jury trial pursuant to Rule

       38(b), and their right was not withdrawn at any point in the action under Rule 38(d).

       Therefore, the action should have been designated upon the docket as a jury action

       on these triable issues pursuant to Rule 39(a).

¶ 27         Ayscue v. Griffin is instructive on the issue of whether the trial court prejudiced

       Appellants’ constitutional and statutory rights to a jury trial. 263 N.C. App. 1, 823

       S.E.2d 134 (2018). In Ayscue, this Court granted an interlocutory appeal after the

       trial court improperly deprived a party of its right to a jury trial on a “critical

       preliminary issue,” the location of a disputed property boundary line. Id. at 9, 823

       S.E.2d at 140. We held that the location of the boundary line was a factual question,

       and the plaintiffs had a constitutional and statutory right to a jury trial that was not
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       waived; therefore, the trial court improperly relied upon a witness’s opinion in issuing

       its orders rather than having the question heard before a jury. Id. at 9, 823 S.E.2d

       at 140. The orders “effectively mooted and resolved” the plaintiffs’ claims and “denied

       and deprived” them of their right to a jury trial.        Id. at 9, 823 S.E.2d at 140.

       Accordingly, we vacated the order, and the matter was remanded for a jury trial on

       all triable issues. Id. at 14, 823 S.E.2d at 143.

¶ 28         Here, the Fox Order “effectively . . . resolved” the claims before the court and

       “denied and deprived” Appellants of a jury trial on the factual issues of undue

       influence and lack of mental capacity. See Ayscue, 263 N.C. App. at 9, 823 S.E.2d at

       140. Appellants’ right to a jury determination of all triable issues constitutes a

       substantial right. Id. at 9, 823 S.E.2d at 140. The issues of undue influence and

       mental capacity in the context of this case are critical and material issues of fact for

       the jury to determine; however, the court resolved these factual issues as a matter of

       law by granting a declaratory judgment and an order for partial summary judgment

       in favor of Defendant Vickrey. See Walker v. Walker, 256 N.C. 696, 698, 124 S.E.2d

       807, 808 (1962) (stating the issue of mental capacity is one for a jury); In re Will of

       Andrews, 299 N.C. 52, 56, 261 S.E.2d 198, 200 (1980) (stating that once a prima facie

       case of undue influence has been presented, the “case must be submitted to the jury

       for its decision”). Appellants’ right to a jury determination of these issues would be

       prejudiced without our immediate review because nearly all parties’ claims, including
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       an undecided claim of conspiracy, rest on the determination of whether there was

       undue influence and whether Plaintiff Woody lacked capacity.

¶ 29         Finally, North Carolina courts have recognized that an “order denying [a

       party’s] motion for a jury trial is appealable.” In re McCarroll, 313 N.C. 315, 316, 327

       S.E.2d 880, 881 (1985) (citation omitted); see In re Ferguson, 50 N.C. App. 681, 274

       S.E.2d 879 (1981). By the same token, a court order that effectively denies a party’s

       constitutional and statutory right to a jury trial is appealable. See Faircloth v. Beard,

       320 N.C. 505, 507, 358 S.E.2d 512, 514 (1987) (holding that “an order requiring a jury

       trial” is appealable since “an order denying [a party’s motion to] a jury trial is

       appealable”).

¶ 30         Appellants    have    met    North    Carolina’s     constitutional   and   statutory

       requirements to exercise their right to a jury trial in the instant action. Accordingly,

       their substantial right to a jury was prejudiced by the Fox Order. This Court holds

       Appellants have an immediate right to appeal.

                           IV. Jurisdiction for Summary Judgment

                                         A. Standard of Review

¶ 31         We review questions of subject-matter jurisdiction de novo. In re K.A.D., 187

       N.C. App. 502, 503, 653 S.E.2d 427, 428 (2007) (citation omitted).

                                              B. Analysis
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¶ 32         Appellants contend the grant of partial summary judgment entered by Judge

       Fox was improper because Judge Baddour had previously denied an initial motion for

       summary judgment.

¶ 33         We acknowledge the well-established rule in North Carolina that “no appeal

       lies from one Superior Court judge to another; that one Superior Court judge may not

       correct another’s errors of law; and that ordinarily one judge may not modify,

       overrule, or change the judgment of another Superior Court judge previously made

       in the same action.” Calloway v. Ford Motor Co., 281 N.C. 496, 501, 189 S.E.2d 484,

       488 (1972) (citations omitted). In this case, the Baddour Order recognizing that

       issues of material fact existed, addressed summary judgment on the original

       complaint. However, Plaintiff Woody had been granted leave of the Court and had

       filed an amended and restated complaint six days prior to the Baddour Order being

       entered pursuant to Rule 58 of the North Carolina Rules of Civil Procedure. “[A]n

       amended complaint has the effect of superseding the original complaint.” Hyder v.

       Dergance, 76 N.C. App. 317, 319–20, 332 S.E.2d 713, 714 (1985) (citation omitted).

       Thus, the filing of the amended and restated complaint rendered any arguments

       regarding the original complaint moot, including a motion for summary judgment on

       the original complaint. See Houston v. Tillman, 234 N.C. App. 691, 695, 760 S.E.2d

       18, 20 (2014). Therefore, this Court holds the trial court had jurisdiction to address
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                                            Opinion of the Court



       the subsequent motion for summary judgment on the amended and restated

       complaint addressed by the Fox Order.

                              V. Critical Preliminary Factual Issues

                                         A. Standard of Review

¶ 34          We review de novo the issues of the trial court’s Fox Order granting partial

       summary judgment on critical and material issues of fact and effectively denying

       Appellants the right to a trial by jury. Piedmont Triad Reg’l Water Auth. v. Sumner

       Hills, Inc., 353 N.C. 343, 348, 543 S.E.2d 844, 848 (2001) (“[D]e novo review is

       ordinarily appropriate in cases where constitutional rights are implicated.”).

                                         B. Mental Incapacity

¶ 35          Appellants argue Dr. Corvin applied an incorrect standard for determining

       Plaintiff Woody’s testamentary capacity and contractual capacity.

¶ 36          The correct standard for testamentary capacity in North Carolina is the

       individual: “(1) comprehends the natural objects of h[is] bounty, (2) understands the

       kind, nature and extent of h[is] property, (3) knows the manner in which [ ]he desires

       h[is] act to take effect, and (4) realizes the effect h[is] act will have upon h[is] estate.”

       In re Will of McNeil, 230 N.C. App. 241, 249, 749 S.E.2d 499, 505 (2013). The capacity

       required to execute a deed includes: (1) understanding the nature and consequences

       of making a deed; (2) comprehending its scope and effect; and (3) knowing what land

       he is disposing of and to whom and how. Hendricks v. Hendricks, 273 N.C. 733, 734,
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                                          Opinion of the Court



       161 S.E.2d 97, 98 (1968). Finally, for other contracts, a person has sufficient mental

       capacity if he has “the ability to understand the nature of the act in which he is

       engaged and its scope and effect . . . .” Sprinkle v. Wellborn, 140 N.C. 163, 181, 52

       S.E. 666, 672 (1905).

¶ 37         Dr. Corvin used the standard of “knowingly, voluntarily, and intelligently” to

       determine testamentary and contractual capacity in his opinion of Plaintiff Woody’s

       mental state. This standard was also cited by the trial court in the Fox Order, where

       it concluded Plaintiff Woody lacked capacity to execute legal instruments in 2017.

       The “knowingly, voluntarily, and intelligently” standard is normally applied in the

       waiver of rights in the context of criminal matters. See State v. Baker, 312 N.C. 34,

       320 S.E.2d 670 (1984). Not only were improper standards for mental capacity used,

       but the court’s adoption of Dr. Corvin’s opinion effectively resolved critical issues of

       fact arising from the claims addressed in the Fox Order, denying and depriving

       Appellants of their right to have a jury determine those issues of fact. See Walker,

       256 N.C. at 698, 124 S.E.2d at 808. Therefore, this Court holds the trial court

       improperly granted partial summary judgment because mental capacity was a

       critical preliminary factual issue for a jury.

                                         C. Undue Influence

¶ 38         Appellants further argue that summary judgment was inappropriate on the

       underlying issue of undue influence because it was question of fact for a jury.
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                                          Opinion of the Court



¶ 39         On appeal and at the hearing for summary judgment, Defendant Vickrey

       improperly relied on the case of Leonard v. England for the proposition that providing

       “a ‘competent and unchallenged’ expert opinion that a person lacked necessary

       capacity . . . is grounds for summary judgment on that issue.”        See Leonard v.

       England, 115 N.C. App. 103, 445 S.E.2d 50 (1994), disc. rev. vacated and denied, 340

       N.C. 113, 455 S.E.2d 663 (1995). Defendant Vickrey does not raise, nor do we find,

       one case in which summary judgment was granted on the issue of undue influence

       after a prima facie case had been presented before a court. Our Supreme Court has

       stated that once a prima facie case of undue influence has been presented by a party,

       “the case must be submitted to the jury for its decision.” In re Will of Andrews, 299

       N.C. at 56, 261 S.E.2d at 200.

¶ 40         The petition for declaratory judgment as well as the claims for quiet title and

       rescission and cancellation of instruments rely on the critical and material factual

       issues of undue influence and lack of capacity, which were improperly determined as

       a matter of law by the trial court; therefore, the declaratory judgment and partial

       summary judgment orders on these claims are vacated.

                                   VI. Permanent Injunction

                                        A. Standard of Review

¶ 41         “Whether a trial court has subject-matter jurisdiction is a question of law,

       reviewed de novo on appeal.” McKoy v. McKoy, 202 N.C. App. 509, 511, 689 S.E.2d
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                                          Opinion of the Court



       590, 592 (2010) (citation omitted) (emphasis added).

                                             B. Analysis

¶ 42         Appellants argue that the trial court lacked jurisdiction to issue a permanent

       injunction before the full case had been heard on its merits.

¶ 43         A trial court lacks authority to issue “the extreme remedy of a permanent

       injunction” before the final trial of the action. Cty. of Johnston v. City of Wilson, 136

       N.C. App. 775, 781, 525 S.E.2d 826, 830 (2000); see Shishko v. Whitely, 64 N.C. App.

       668, 308 S.E.2d 448 (1983).

¶ 44         In contrast to a permanent injunction, a preliminary injunction, is:

                    an interlocutory injunction issued after notice and hearing
                    which restrains a party pending trial on the merits. The
                    issuing court, after weighing the equities, and the
                    advantages and disadvantages to the parties, determines
                    in its sound discretion whether an interlocutory injunction
                    should be granted or refused. The court cannot go further
                    and determine the final rights of the parties, which must
                    be reserved for the final trial of the action.

       Cty. of Johnston, 136 N.C. App. at 780, 525 S.E.2d at 829–30 (citations and

       quotations omitted).

¶ 45         Here, it was improper for the trial court to grant the “extreme remedy of a

       permanent injunction” because it “determine[d] the final rights of the parties” before

       the “final trial of the action.” See id. at 780–81, 525 S.E.2d at 829–30. Therefore, the

       permanent injunction is vacated.
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                                          Opinion of the Court



                                      VII. Conversion Claim

                                       A. Standard of Review

¶ 46         “Our standard of review of an appeal from summary judgment is de novo; such

       judgment is appropriate only when the record shows that ‘there is no genuine issue

       as to any material fact and that any party is entitled to a judgment as a matter of

       law.’” In re Will of Jones, 362 N.C. 569, 573, 669 S.E.2d 572, 576 (2008) (quoting

       Forbis v. Neal, 361 N.C. 519, 523–24, 649 S.E.2d 382, 385 (2007)) (emphasis added).

                                             B. Analysis

¶ 47         Lastly, we address Appellants’ contention that the trial court erred in granting

       summary judgment on the conversion claim because genuine issues of material fact

       were present.

¶ 48         The tort of conversion is defined in North Carolina as the “unauthorized

       assumption and exercise of the right of ownership over goods or personal chattels

       belonging to another, to the alteration of their condition or the exclusion of an owner’s

       rights.” Myers v. Catoe Constr. Co., 80 N.C. App. 692, 695, 343 S.E.2d 281, 283 (1986).

¶ 49         Appellants concede Defendant Vickrey owned vehicles and hunting equipment

       located on Plaintiff Woody’s parcel prior to August of 2017, and further concede the

       personal property was removed. Appellants argue, however, Plaintiff Vickrey failed

       to distinguish between Appellants in his counterclaim with respect to who had

       wrongfully exercised ownership over his property. Moreover, they contend Defendant
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                                         Opinion of the Court



       Vickrey received notice to remove his property and failed to do so, thereby abandoning

       it.

¶ 50         The evidence tends to show a receipt from NC Recycling for automobile and

       steel shredding dated 14 August 2017 and signed by Plaintiff Woody. The record also

       contains a letter signed by Plaintiff Woody and Plaintiff Gaines dated 19 August

       2017, addressed to Defendant Vickrey, informing him to remove his vehicles and

       hunting equipment from Plaintiff Woody’s property before 8 September 2017. As

       Defendant Vickrey has properly raised, the demand letter is dated five days after the

       receipt, which shows the vehicles and steel were recycled. Appellants did not provide

       any additional evidence to prove that the vehicles were not disposed of before the

       demand letter was delivered to Defendant Vickrey. Based on the evidence, Plaintiffs

       Woody and Gaines assumed and exercised the right of ownership over Defendant

       Vickrey’s personal property without his authorization and disposed of it. See Myers,

       80 N.C. App. at 695, 343 S.E.2d at 283.            However, in Defendant Vickrey’s

       counterclaim, he asserts that the “Conspiring Parties,” or Appellants, are liable for

       conversion of his personal property. The Fox Order granted summary judgment for

       Defendant Vickrey on his claim for conversion, and only Third-Party Defendants

       Carrie Vickrey and Ayscue were found to have “wrongfully exercised ownership” over

       the property. Given that the evidence tends to show Plaintiffs Gaines and Woody

       took part in disposing of Defendant Vickrey’s property, there is a genuine issue of
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                                          2021-NCCOA-105

                                         Opinion of the Court



       material fact as to who had exercised ownership and control over Defendant Vickrey’s

       property; thus, summary judgment was not appropriate. See Variety Wholesalers,

       Inc. v. Salem Logistics Traffic Servs., LLC, 365 N.C. 520, 524–25, 723 S.E.2d 744, 748
       (2012) (holding that a question of contractual intent was a genuine issue of material

       fact that precluded summary judgment).

¶ 51         Furthermore, given that the trial court granted summary judgment on the

       conversion claims, it erred by not also granting summary judgment on the conspiracy

       claim since there was no genuine of issue of material fact for a jury to determine once

       the conversion claims were decided.      The trial court’s improper grant of partial

       summary judgment on the conversion claims had the effect of eliminating a genuine

       issue of material fact as to the civil conspiracy claim because the liability of the

       parties was already decided, and the civil conspiracy claim would only determine

       damages. Thus, Appellants’ right to a jury trial was prejudiced when the trial court

       ordered partial summary judgment on the conversion claims. For the foregoing

       reasons, the order on partial summary judgment with respect to the conversion

       claims is vacated.

                                         VIII. Conclusion

¶ 52         This Court has jurisdiction to address the merits of Appellants’ interlocutory

       appeal.   Appellants have shown that their substantial right to a jury trial was

       prejudiced because the trial court improperly deprived Appellants of their right to a
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                                          Opinion of the Court



       jury trial on the critical preliminary factual issues of undue influence and lack of

       mental capacity. To the extent the Fox Order was based on these critical preliminary

       issues, it is vacated.

¶ 53          Appellants have shown a genuine issue of material fact exists with respect to

       the liable parties of the conversion claims decided in the Fox Order, and this improper

       grant of summary judgment also eliminated any existing genuine issues of material

       fact with respect to the undecided civil conspiracy claim; therefore, this Court vacates

       this portion of the Fox Order.

¶ 54          The permanent injunction was improper because it determined the final rights

       of the parties before a hearing on the merits had been held.

¶ 55          Accordingly, this Courts vacate the permanent injunction; declaratory

       judgment regarding the trust; and partial summary judgment regarding the

       cancellation and rescission, quiet title, and conversion claims, and this Court

       remands to the trial court for further proceedings and for a jury trial on all triable

       issues. It is so ordered.

              VACATED IN PART AND REMANDED.

              Judge HAMPSON concurs in result with separate opinion.

              Judge JACKSON dissents with separate opinion.
       No. COA20-337 – Woody v. Vickrey


             HAMPSON, Judge, concurring in result.


¶ 56         I agree the trial court’s Orders granting partial summary judgment and

       entering a permanent injunction must be vacated and this matter remanded for

       further proceedings and, as such, concur in the result. I differ, however, both in (I)

       the articulation of a substantial right permitting an immediate appeal of these

       interlocutory Orders and (II) the analysis on the merits as it relates to whether

       summary judgment was proper on the claims arising from the allegations of undue

       influence and, in turn, the issuance of the permanent injunction.1

                                                    I.

¶ 57         This case provides an excellent illustration that “[t]he ‘substantial right’ test

       for appealability is more easily stated than applied.” Bernick v. Jurden, 306 N.C.

       435, 439, 293 S.E.2d 405, 408 (1982) (citations omitted). Indeed, articulating a

       generally applicable substantial right in any given case can be challenging at best.

       Thus, as our Supreme Court has cautioned: “It is usually necessary to resolve the

       question in each case by considering the particular facts of that case and the

       procedural context in which the order from which appeal is sought was entered.” Id.
       (citations and quotation marks omitted). Hence, as our Court summarized: “Whether


             1 To be clear, I fully agree with the Opinion of the Court in Parts IV and VII addressing

       the trial court’s jurisdiction to consider Summary Judgment and the grant of Summary
       Judgment on the Conversion counterclaim.
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                                          2021-NCCOA-105

                                  HAMPSON, J., concurring in result



       an interlocutory appeal affects a substantial right is determined on a case-by-case

       basis.” Grant v. High Point Reg’l Health Sys., 172 N.C. App. 852, 853, 616 S.E.2d

       688, 689 (2005) (citation omitted). Here, the “case-by-case” approach is particularly

       applicable.

¶ 58          We are unanimous in agreeing Appellants have failed to articulate a

       substantial right arising from the possibility of inconsistent verdicts. Moreover, I

       agree with the dissent that the trial court’s grant of partial summary judgment in

       and of itself does not affect a substantial right to a jury trial pertaining to the

       Appellants’ property rights. However, the trial court’s partial Summary Judgment

       Order does directly and materially impact title to property—and, specifically, finally

       determines a threshold question in this case necessary to resolve the remaining

       claims: Who properly holds title to the property at issue?

¶ 59         Here, the trial court’s partial Summary Judgment Order decides that

       threshold question and, then, goes further by ordering:

                All instruments executed by Plaintiff Woody in 2017 are void,
                rescinded, and ordered stricken from the records of the Chatham
                County Register of Deeds and title to the property is established
                consistent with the General Warranty Deed recorded by
                Defendant Vickrey on 30 August 2017, subject to a constructive
                trust in favor of Plaintiff Woody until his death.

       In addition, the trial court’s subsequent, permanent injunction permanently bars

       Appellants from any access to the property and from Mr. Woody, including in advance
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                                           2021-NCCOA-105

                                   HAMPSON, J., concurring in result



       of a trial on the remaining merits. Further, on the particular facts and procedural

       context of this case, time is of the essence because it involves the estate of a person

       who is still alive and, thus, may still have the ability to amend and alter his estate,

       participate in ongoing litigation, and who is still a party to this case. The efficacy of

       reaching the merits in this particular case is further underscored by the fact the trial

       court, purportedly applying N.C. Gen. Stat. § 1-294, has stayed any further

       proceedings pending this appeal.

¶ 60         Under the current state of our caselaw, “outside of the condemnation context,

       the fact that an interlocutory appeal may affect title to land does not automatically

       render an interlocutory appeal permissible. The appellant must still demonstrate

       that the particular order, if not addressed prior to a final judgment, would adversely

       affect a substantial right of the appellant.” Superior Constr. Corp. v. Intracoastal

       Living, LLC, 207 N.C. App. 750, 701 S.E.2d 403 (2010) (unpublished). This may be

       done by a showing: “Resolution of the remaining claims could not move forward until

       the question of who held title to the property was finally decided and, therefore, a

       substantial right was at stake.” Id. Here, the central threshold question is who held

       title to the property and absent final resolution of that question, the remaining

       questions are left for decision. The trial court’s partial Summary Judgment Order,

       and particularly in combination with the permanent injunction barring Appellants

       from the property, finally resolves the issue of title to the property and, moreover,
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                                   HAMPSON, J., concurring in result



       impairs the property rights of Appellants in a manner such that they are prejudiced

       resulting in immediate harm, which could not be cured by a later appeal. That is,

       their alleged title to the property is immediately stricken from the public record and

       they are barred from entering their alleged property or contacting Mr. Woody while

       still in the course of litigation. As such, in the interests of justice, I would conclude

       on the specific facts of this case that Appellants do have a right to a permissive

       interlocutory appeal under the substantial right doctrine.

                                                  II.

¶ 61         Next, I would vacate the trial court’s partial Summary Judgment Order on the

       claims for declaratory judgment, quiet title, and rescission and cancellation of

       instrument arising from undue influence and lack of mental capacity. Each side

       presented sufficient evidence to create a genuine issue of material fact on the key

       question of Mr. Woody’s competence at the time of the property transfers in question

       and, in turn, whether Mr. Woody was coerced to execute documents and transfer

       property by Appellants’ undue influence.

¶ 62         Here, Defendant proffered the expert opinion of Dr. Corvin in support of

       summary judgment. I agree with the lead opinion that Defendant’s reliance on

       Leonard v. England, 115 N.C. App. 103, 445 S.E.2d 50 (1994), is misplaced. Leonard

       stands for the proposition that summary judgment for a defendant was not proper on

       statute-of-limitations grounds where uncontradicted expert medical evidence showed
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                                           2021-NCCOA-105

                                   HAMPSON, J., concurring in result



       the plaintiff was incompetent as defined by N.C. Gen. Stat. § 35A-1101(7) at the time

       the action accrued, and thus the statute of limitations was tolled. Id. at 107-108, 445

       S.E.2d at 52.

¶ 63         It does not stand for the broad proposition Defendant advocates—that in order

       to defeat summary judgment on the issue of testamentary capacity and the existence

       of undue influence, the non-moving party must present expert testimony to rebut a

       movant’s expert. Here, while Dr. Corvin’s testimony is evidence tending to call into

       question Mr. Woody’s capacity to execute legal documents at the time in question, it

       does not compel summary judgment in Defendant’s favor. Appellants presented

       contradictory evidence in the form of witness testimony of people who observed Mr.

       Woody first-hand, including the attorney present when Mr. Woody executed the

       revocation of power of attorney and other acquaintances of Mr. Woody as to their

       observations of Mr. Woody’s mental state during the time in question. Indeed, even

       Dr. Corvin acknowledged he could not determine a precise time when Mr. Woody’s

       testamentary incapacity began, his opinion was, at least in part, reliant on the

       credibility of the information and contemporaneous accounts provided to him, and

       that his opinion was subject to disagreement, even going so far as to note “another

       trier of fact can look at these set of facts and disagree with me.”

¶ 64         Consequently, because there is a genuine issue of material fact on the question

       of Mr. Woody’s competency to execute legal documents, partial summary judgment
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                           HAMPSON, J., concurring in result



on these issues was erroneous and must be vacated. Moreover, because the partial

Summary Judgment Order was erroneously entered, the permanent injunction

entered as a result must also necessarily be vacated, and I would not reach the issue

of whether entry of the permanent injunction was premature. Accordingly, I concur

in the result reached in the Opinion of the Court vacating those Orders and

remanding the case for trial.
        No. COA20-337 – Woody v. Vickrey


             JACKSON, Judge, dissenting.


¶ 65         Appellants raised two grounds for interlocutory appeal: (1) the right to not

       receive inconsistent verdicts in two potential trials; and (2) the right to have a jury

       determine all issues of fact.     While I agree with the majority finding that the

       interlocutory orders do not affect Appellants’ right to receive consistent verdicts, I

       cannot agree with its determination that Appellants’ right to a jury trial was

       prejudiced. Because I believe Appellants’ right to a jury trial was not prejudiced and

       Appellants therefore failed to show how denial of this interlocutory appeal would

       affect a substantial right, I respectfully dissent.

¶ 66         As the majority explains, for Appellants to have a right of appeal, “the trial

       court must have deprived Appellants of a substantial right that would be lost,

       prejudiced, or less than adequately protected absent immediate review.” Our Court

       has recognized that “[t]he right to a jury trial is a substantial right of great

       significance.” Mathias v. Brumsey, 27 N.C. App. 558, 560, 219 S.E.2d 646, 647 (1975),

       disc. review denied, 289 N.C. 140, 220 S.E.2d 798 (1976). However, “[t]he appealing

       party [still] bears the burden of demonstrating that the order from which he or she

       seeks to appeal is appealable despite its interlocutory nature[,]” due to loss, prejudice,

       or inadequate protection of their right to trial. Union Cty. v. Town of Marshville, 255

       N.C. App. 441, 444, 804 S.E.2d 801, 804 (2017) (citation omitted).
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                                            2021-NCCOA-105

                                         JACKSON, J., dissenting



¶ 67         The North Carolina Constitution provides that the right to a jury trial should

       be preserved “[i]n all [civil] controversies at law respecting property[,]” N.C. Const.

       art. I, § 25, however, our Supreme Court has explained that “[t]he constitutional right

       to trial by jury, N.C. Const., Art. I, § 25, is not absolute; rather, it is premised upon a

       preliminary determination by the trial judge that there indeed exist genuine issues

       of fact and credibility which require submission to the jury.” N.C. Nat’l Bank v.

       Burnette, 297 N.C. 524, 537, 256 S.E.2d 388, 396 (1979). Thus, trial judges act as

       gatekeepers to all claims—preliminarily determining whether the jury is at liberty to

       hear the issues.

¶ 68         This notion is consistent with the majority’s explanation of Rule 38 of the North

       Carolina Rules of Civil Procedure, which establishes the manner by which a party

       must request a jury trial. The Rule provides that “[a]ny party may demand a trial by

       jury of any issue triable of right by a jury[.]” N.C. Gen. Stat. § 1A-1, Rule 38(b) (2017)

       (emphasis added). The use of the word “triable” relates back to our Supreme Court’s

       recognition in Burnette—that only certain issues make it to a jury.

¶ 69         Here, we are presented with a substantial right—the right to trial by jury—

       but said right is not lost, prejudiced, or less than adequately protected absent

       immediate review. In finding otherwise, the majority believes that Ayscue v. Griffin,

       263 N.C. App. 1, 823 S.E.2d 134 (2018) is instructive here. However, this case is

       easily distinguishable from Ayscue. In Ayscue, by establishing the boundary line, the
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                                          2021-NCCOA-105

                                       JACKSON, J., dissenting



       trial court “effectively mooted all of Plaintiff's claims[,]” leaving no issues to be

       decided by the jury. 263 N.C. App. at 8, 823 S.E.2d at 139. Thus, the court’s order

       essentially operated as a final judgement.       In this case, the partial summary

       judgment order did not operate as a final judgment because it did not decide the

       remaining RICO or civil conspiracy claims. Accordingly, Appellants are not being

       deprived of any substantial right by sending the remaining claims to trial before the

       appeal. Indeed, the issues warranting this appeal can be raised after a final judgment

       has been rendered on the remaining claims.

¶ 70         Altogether, Appellants failed to meet the burden of demonstrating that the

       trial court’s grant of partial summary judgment will result in loss, prejudice, or

       inadequate protection of their right to trial. Contrary to Appellant’s contentions, all

       issues do not warrant jury consideration and a party’s preference for a jury trial does

       not amount to a substantial right. A trial is only required if there is a genuine issue

       of material fact for the jury to decide. Because Appellants failed to demonstrate how

       denial of this interlocutory appeal would affect a substantial right, the appeal should

       be dismissed.

¶ 71         For the reasons stated above, I respectfully dissent.
